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  1    JOHN-PATRICK M. FRITZ (State Bar No. 245240)
       CARMELA T. PAGAY (State Bar No. 195603)
  2    JONATHAN D. GOTTLIEB (State Bar No. 339650)      FILED & ENTERED
  3    LEVENE, NEALE, BENDER,
       YOO & GOLUBCHIK L.L.P.
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                                                         BY evangeli DEPUTY CLERK


  7
       Attorneys for Chapter 11
  8    Debtor and Debtor in Possession

  9
                             UNITED STATES BANKRUPTCY COURT
 10                           CENTRAL DISTRICT OF CALIFORNIA
                                   LOS ANGELES DIVISION
 11

 12   In re:                                           )   Case No.: 2:22-bk-10266-BB
                                                       )   Chapter 11 Case
 13   ESCADA AMERICA LLC,                              )
                                                       )   ORDER APPROVING SECOND
 14             Debtor and Debtor in Possession.       )   STIPULATION TO EXTEND
                                                           DEADLINES AND SCHEDULING
                                                       )   REGARDING (1) DEBTOR’S MOTION
 15
                                                       )   FOR AN ORDER EXTENDING THE
 16                                                    )   PLAN EXCLUSIVITY PERIODS TO
                                                       )   FILE CHAPTER 11 PLAN AND
 17                                                    )   OBTAIN ACCEPTANCES THEREOF &
                                                           (2) MOTION FOR ORDER
                                                       )   AUTHORIZING USE OF CASH
 18                                                    )   COLLATERAL AND PROVIDING
                                                       )   ADEQUATE PROTECTION
 19                                                        PURSUANT TO SECTIONS 361 AND
                                                       )
                                                       )   363 OF THE BANKRUPTCY CODE
 20
                                                       )
 21                                                    )   Hearing:
                                                       )   Date: August 31, 2022
 22                                                    )   Time: 10:00 a.m.

 23                                                    )
                                                       )   Continued Hearings:
                                                       )   Date: September 7, 2022
 24
                                                       )   Time: 10:00 a.m.
 25                                                    )   Place: Courtroom 1539
                                                       )          255 East Temple Street
 26                                                    )          Los Angeles, CA 90012
 27                                                    )
                                                       )
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  1           The Court, having considered the “Second Stipulation To Extend Deadlines And

  2    Scheduling Regarding: (1) Debtor’s Motion For An Order Extending The Plan Exclusivity

  3    Periods To File Chapter 11 Plan And Obtain Acceptances Thereof & (2) Motion for Order

  4    Authorizing Use of Cash Collateral and Providing Adequate Protection Pursuant to Sections

  5    361 and 363 of the Bankruptcy Code” (the “Stipulation”)1 entered into, through counsel, by

  6    and between Escada America LLC, a Delaware limited liability company (the “Debtor”), the

  7    debtor and debtor in possession in the above-captioned chapter 11 case, on the one hand, and

  8    the Official Committee of Unsecured Creditors (the “Committee”), on the other hand, the

  9    record in this case, the docket in this case, and good cause appearing therefor,

 10           HEREBY ORDERS as follows:

 11           1.     The Stipulation is APPROVED.

 12           2.     The Exclusivity Hearing is continued to September 7, 2022 at 10:00 a.m.

 13           3.     The Exclusivity Response Deadline is extended for all parties-in-interest to

 14    August 24, 2022.

 15           4.     The Reply Deadline is extended to August 31, 2022.

 16           5.     The Cash Collateral Hearing is continued to September 7, 2022, at 10:00 a.m.

 17           6.     The Cash Collateral Response Deadline is extended for all parties-in-interest to

 18    August 24, 2022.

 19           7.     The Cash Collateral Reply Deadline is extended to August 31, 2022.

 20           8.     The Debtor is authorized to use cash collateral on the terms set forth in the Cash

 21    Collateral Order through September 7, 2022.

 22    ///

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       1
 27      Initial capitalized defined terms used in this Order have the same meanings as attributed to
       them in the Stipulation unless otherwise stated with specificity.
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  1            9.    This Order is without prejudice to any further continuance of the Plan

  2    Exclusivity Hearing, Exclusivity Response Deadline, Exclusivity Reply Deadline, Cash

  3    Collateral Hearing, Cash Collateral Response Deadline, Cash Collateral Reply Deadline, and

  4    use of cash collateral, to which the parties may stipulate and/or the Court may order.

  5          SO ORDERED.

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 24 Date: August 17, 2022

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